DeMarco∙Mitchell, PLLC 
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Robert T. DeMarco 
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                                IN THE UNITED STATES BANKRUPTCY COURT 
                                      NORTHERN DISTRICT OF TEXAS 
                                            DALLAS DIVISION 
                                                         
    IN RE:                                                   
                                                            Case No. 16‐33121‐BJH‐11 
    STW Resources Holding Corp.                              
    26‐1945743                                               
    5307 E. Mockingbird Lane                                 
    5th Floor, Mockingbird Station 
    Dallas, TX 75206 
                                                             
                                                            Chapter       11 
    Debtor 

                                                      
                                      DEBTOR’S WITNESS AND EXHIBIT LIST 
 
 
           STW  Resources  Holding  Corp.,  Debtor  in  the  above‐styled  and  numbered  bankruptcy 

case (hereinafter “Debtor”), hereby submits this Witness and Exhibit List for the December 21, 

2016 hearing on the Debtor’s Motion to Extend 11 U.S.C. §1121 Exclusivity Periods:   

            

                                               I.      EXHIBITS 

           Debtor may introduce one or more of the following exhibits: 
 
           1.       Any  and  all  pleadings  currently  on  file  respecting  the  above  identified  Motion, 

and the exhibits attached thereto or identified therein;  

           2.       All schedules and statements currently on file;  

           3.       Any exhibits listed by any other party. 

 
                                              II.     WITNESSES 

           Debtor may call any one or more of the following witnesses: 
 
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         4.       D. Grant Seabolt, Current Director of STW Resources Holding Corp.; 

         5.       Additional designee of Redwood Funding, Proposed Plan Sponsor; and 

         6.       Any witness listed by any other party. 

         Debtor reserves the right to introduce or to call one or more, or none, of the witnesses 

and  exhibits  listed  above,  and  reserves  the  right  to  call  additional  witnesses  and  introduce 

additional exhibits in rebuttal.  Debtor further reserves the right to supplement this list prior to 

hearing. 

 
 
                                                        Respectfully submitted, 
                                                         
Dated:  December 16, 2016                               /s/ Michael S. Mitchell 
                                                        DeMarco∙Mitchell, PLLC
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                                                        Counsel for Debtor 
                                                     
                                  




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                                      CERTIFICATE OF SERVICE 
 
        The  undersigned  counsel  herby  certifies  that  true  and  correct  copies  of  the  foregoing 
pleading  and  all  attachments  were  served  upon  all  parties  listed  below  in  accordance  with 
applicable rules of bankruptcy procedure on this 16th day of December, 2016.  Where possible, 
service was made electronically via the Court’s ECF noticing system or via facsimile transmission 
where a facsimile number is set forth below.  Where such electronic service was not possible, 
service was made via regular first class mail. 
                                              DEBTOR  
STW Resources Holding Corp.                          
5307 E. Mockingbird Lane                             
5th Floor, Mockingbird Station 
Dallas, TX 75206 
 
                                     UNITED STATES TRUSTEE 
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